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                          BEFORE THE UNITED STATES
                 JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

                                          MDL No. 3076

 IN RE: FTX CRYPTOCURRENCY EXCHANGE
 COLLAPSE LITIGATION

                                     PROOF OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, I hereby certify that a copy of the foregoing Notice of Appearance

and this Proof of Service were served on March 3, 2023 on all other parties in all involved actions

as follows:

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                                                     1:22-cv-23983-KMM (S.D. Fla.);
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                                                     07666-JSC (N.D. Cal.);
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O’Keefe v. Sequoia Capital Operations, LLC et al, No. 1:23-cv-20700-JEM (S.D. Fla)
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Defendant Temasek Holdings       (Private) et al, No. 1:23-cv-20700-JEM (S.D. Fla)
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Defendant Ribbit Capital, L.P.:            O’Keefe v. Sequoia Capital Operations, LLC
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O’Keefe v. Sequoia Capital Operations, LLC Defendant Softbank Vision Fund (AIV M2)
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                                           O’Keefe v. Sequoia Capital Operations, LLC
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                                          1:22-cv-23983-KMM (S.D. Fla.)




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